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AO 245B (Rev. 10/19) Judgment in a Criminal Case JLF/jlb (8403)
Sheet |

UNITED STATES DISTRICT COURT
Western District Of New York

 
  

 

  

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Carlos Javier Figueroa Case Number: 6:18CR06094-001
a/k/a Javi )
: USM Number: 12057-055
a/k/a Big Bro )
) Paul J. Vacca, Jr. -
Defendant’s Attorney OF ;
THE DEFENDANT: oA\
[J pleaded guilty to count(s) MAY 06 2022 )
~ — WS
L] pleaded nolo contendere to count(s) ee C. Loewencutt! SN ve
which was accepted by the court. TERN DISTRICS 0
was found guilty on count(s) 1, 2 and 3 of the Fourth Superseding Indictment
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 841(a)(1), Conspiracy to Possess With Intent to Distribute and to Distribute 1/29/2018 1
21 U.S.C. § 841(b)C (A), 5 Kilograms or More of Cocaine, 280 Grams or More of
21 U.S.C. § 846 and Cocaine Base, and 1 Kilogram of Heroin
21 U.S.C. § 851
18 U.S.C. § 924(c)(1)(A)Gi) and ~— Possession, Brandishing, and Discharging Firearms in Furtherance 1/29/2018 2
18 U.S.C. §2 of a Drug Trafficking Crime
21 U.S.C. § 848(e)(1)(A) and Murder While Engaged in a Narcotics Conspiracy 9/12/2016 3
18 U.S.C. §2
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
CJ The defendant has been found not guilty on count(s)

4 and 10-19 of the Fourth
Superseding Indictment

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

& Count(s) 0 is are dismissed on the motion of the United States.

   

Honorable Frank P. Geraci Jr., U.S. District Judge

Name and Title of Judge
Sb /20 LU

Date
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AO 245B (Rev. 10/19) Judgment in Criminal Case JLF/jlb (8403)
Sheet 2 — Imprisonment
Judgment — Page 2 of 7
DEFENDANT: Carlos Javier Figueroa
CASE NUMBER: 6:18CR06094-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Life imprisonment on Counts | and 3, to run concurrently, and 25 years on Count 2, to run consecutively, for a total term

of life plus 25 years.
The cost of incarceration fee is waived.

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
C] at Clam. (©) pm. on
C] as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before 2 p.m. on
C] as notified by the United States Marshal.

[J as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

, with a certified copy of this judgment.

UNITED STATES MARSHAL

By
DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 10/19) Judgment in a Criminal Case

JLF/jlb (8403)
Sheet 3 — Supervised Release

Judgment—Page 3 of 7
DEFENDANT: Carlos Javier Figueroa

CASE NUMBER: 6:18CR06094-001
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
10 years on Count i and 5 years on Counts 2 and 3, to run concurrently, for a total term of 10 years.

MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that you
pose a low risk of future substance abuse. (check if applicable)

4 L] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6 OC

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seg.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
are a student, or were convicted of a qualifying offense. (check if applicable)

7. (1 — You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case JLF/jlb (8403)
Sheet 3A — Supervised Release

 

Judgment—Page 4 of 7
DEFENDANT: Carlos Javier Figueroa

CASE NUMBER: 6:18CR06094-001
STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the court determines in consultation with your probation officer that, based on your criminal record, personal history and
characteristics, and the nature and circumstances of your offense, you pose a risk of committing further crimes against another person
(including an organization), the probation officer may require you to notify the person about the risk and you must comply with that
instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

Upon a finding of a violation of probation or supervised release, I understand that this court may (1) revoke supervision, (2) extend the terms
of supervision, and/or (3) modify the conditions of probation or supervised release. A U.S. probation officer has instructed me on the
conditions specified by the court and has provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature Date

 

 

US. Probation Officer’s Signature Date

 
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Sheet 3B — Supervised Release

Judgment—Page 5 of 7
DEFENDANT: Carlos Javier Figueroa

CASE NUMBER: 6:18CR06094-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his
control, based upon reasonable suspicion, and permit confiscation of any evidence or contraband discovered.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case JLF/jlb (8403)
Sheet 4 — Criminal Monetary Penalties
Judgment—Page 6 of 7
DEFENDANT: Carlos Javier Figueroa
CASE NUMBER: 6:18CR06094-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5.

Assessment AVAA Assessment* INTA Fine Restitution
—__—_ ere Assessment** —_—
300 ($100 on
TOTALS $ eachofcounts $ 0 $ 0 $ 5,000.00 $ 1,300.00
1, 2 and 3.)
LC] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
S.T.B. $1,300.00 $1,300.00 100%
TOTALS $ 1,300.00 $ 1,300.00

[] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe & fine restitution.

Lj the interest requirement forthe (] fine restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No, 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case JLF/jlb (8403)
Sheet 5 — Schedule of Payments
Judgment — Page 7 of 7
DEFENDANT: Carlos Javier Figueroa
CASE NUMBER: 6:18CR06094-001
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A [({] Lump sum payment of $ due immediately, balance due
CL] not later than , or
C]_ in accordance Cle 4 D, [© E,or {Q F below; or
B Payment to begin immediately (may be combined with [] ¢, ( D,or F below); or
C  [) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D  ([) Payment in equal (e.g.. weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [( Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F X] Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay a special assessment of $100 on each count, for a total of $300, which shall be due immediately. If
incarcerated, payment shall begin under the Bureau of Prisons Inmate Financial Responsibility Program. Payments shall be made to
the Clerk, U.S. District Court (WD/NY), 2 Niagara Square, Buffalo, New York 14202.

Regarding the fine, while incarcerated, if the defendant is non-UNICOR or UNICOR grade 5, the defendant shall pay installments of
$25 per quarter. If assigned grades 1 through 4 in UNICOR, the defendant shall pay installments of 50% of the inmate's monthly
pay. While on supervision, the defendant shall make monthly payments at the rate of 10% of monthly gross income.

Regarding the restitution, the restitution is due immediately. While incarcerated, if the defendant is non-UNICOR or UNICOR grade
5, the defendant shall pay installments of $25 per quarter. If assigned grades | through 4 in UNICOR, the defendant shall pay
installments of 50% of the inmate's monthly pay. While on supervision, the defendant shall make monthly payments at the rate of
10% of monthly gross income.

Pursuant to 18:3664(n), if the defendant is obligated to provide restitution, or pay a fine, and he receives resources from any source,
including inheritance, settlement (insurance, lawsuit), or other judgment during a period of incarceration, he shall be required to
apply the value of such resources to any outstanding restitution or fine.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
[1 Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate.

[] The defendant shall pay the cost of prosecution.

[] The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant’s interest in the following property to the United States:
One (1) Ruger pistol, bearing serial number 332-13800.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
